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               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF GEORGIA
                    SAVANNAH DIVISION

MARIA SERRANO DE ESCOBAR              )
and RAMON ESCOBAR,                    )
                                      )
              Plaintiffs,             )
                                      )
v.                                    )             CV418-262
                                      )
HOMER LEE GEARY, JR., et al.,         )
                                      )
              Defendants.             )

                                 ORDER

     On November 6, 2020, plaintiff filed a response to the Court’s order

of October 29, 2020, in which the parties advised that they were advancing

discovery and anticipated being prepared for mediation in early 2021. See

doc. 29.   No subsequent update has been provided.         The parties are

DIRECTED to notify the Court within seven days of this Order if they

are prepared to move forward with mediation. If they wish the mediation

to be conducted by the Court, the parties should provide several dates on

which all parties and their representatives are mutually available. If the

parties wish to use a private mediator, they should advise the Court of the

anticipated date of their mediation. Alternatively, if the parties no longer

with to mediate this matter, they are DIRECTED to confer and file an
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amended Rule 26(f) Report within seven days of this Order, providing a

proposed schedule for all remaining discovery.

     SO ORDERED, this 11th day of January, 2021.



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                            ________
                                   ________________
                                                  ______
                            CHRISTOPHER
                            CH
                             HRISTTOPHER L. RAY
                            UNITED STAT
                                     STATES   MAGISTRATE JUDGE
                                         TES MAGISTR
                            SOUTHERN DISTRICT OF GEORGIA
